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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 1 of 57 PagelD #:71 Cp

FILED

APR 7 2009 7"
MOTION UNDER 28 U.S.C. SECTION 2255 fkoc 7. 007
UNITED STATES DISTRICT COURT GLERK, U.S. DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

 

MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY
A PERSON IN FEDERAL CUSTODY

 

UNITED STATES

09¢e013497

CASE NO. 09-c-1247
(To he supplied by clerk)

STEVE 14996-

{Full name and prison number of
movant)

ee

IF THE MOVANT HAS A SENTENCE TO BE SERVED IN THE FUTURE UNDER
A FEDERAL JUDGMENT WHICH HE WISHES TO ATTACK, HE SHOULD FILE
A MOTION IN THE FEDERAL COURT WHICH ENTERED THE JUDGMENT.

1. Place of detention, or if on parole, date of parole release

U.S. Benitentiary Terre Haute, Indiana

2. Name and location of court which sentence was imposed and name
of judge who imposed the sentence which is now under attack.

 

United States District Court, Northern District of Tllinois,

Honorable James F. Holderman, Judge.

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11.

12.

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 2 of 57 PagelD #:72

Date of judgment of conviction:

2005
02-CR-/19

November 29,
Case number:

Length of sentence: Life

Nature of offense involved (all counts):_Conspiracy to possess

with

intent tno distribute and toa distribute

jn_ieyress:

of 5 kilograms of cocaine in violation of 21 USC $§ 8410aX1)

and 846. Count One.
What was your plea?
(A} Not guilty

(B}) Guilty

(C) Nolo Contendere
Kind of trial:

(A} Jury

(B} Judge only

Did you testify at the trial?

{es { ) No

{check one)

( x )

Did you appeal from the judgment of conviction?

Yes ( x } No
If you did appeal,
(A)
(B)
(C)

Other than a direct appeal from
sentence,

federal court?
No

Yes (x )

have you previously filed any petitions,
cations or motions with respect to this

( )

answer the following:
Name of court U.S. Court of Appeals /th Cir.
Result_Conviction/sentence affirmed

Date of result July 16, 2007

the judgment of conviction and
appli~

judgment in any
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 3 of 57 PagelD #:73

13. If your answer to (12) was “YES,” give the following
information:

(A) (1) Name of court_U.5. Supreme Court
(2) Nature of proceeding Writ of Certiorari

(3) Grounds Raised_Same as those reised in the Court of

Appeals

 

(4) Did you receive an evidentiary hearing on your petition,
application or motion?

Yes ( ) No ( x )
(5) Result Denied February 25, 2008
(6) Date of result_See (5) supra

(B) As to any second petition, application or motion, give the
same information:

{1} Name of the court

 

(2) Nature of proceeding

 

{3) Grounds Raised

 

 

(4) Did you receive an evidentiary hearing on your petition,
application or motion?

Yes ( } No { }

(5) Result

 

(6) Date of result

 

(C) As to any third petition, application or motion, give the same
information;

{l) Name of the court

 

(2) Nature of proceeding

(3) Grounds Raised

 

 
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 4 of 57 PagelD #:74

(4) Did you receive an evidentiary hearing on your petition,
application or métion?

Yes ({ \ No ( )

(5) Result

 

(6) Date of result

 

(D) Did you appeal, to an appellate federal court having
jurisdiction, the result of action taken on any petition,
application or motion? N/A

(1) First petition, ete, Yes ( } No ({ }
(2) Second petition, etc. Yes ( ) No { }
(3) Third petition, etc. Yes [ ) No ({ )

{(E) If you did not appeal from the adverse action on any petition,
application or motion, explain briefly why you did not:

N/A

 

 

 

 

 

 

 

14. State concisely every ground on which you claim that you are
being held unlawfully. Summarize briefly the facts supporting
each ground. If necessary, you may attach pages stating
additional grounds and facts supporting same.

CAUTION: IF YOU FAIL TO SET FORTH ALL GROUNDS IN THIS MOTION, YOU
MAY BE BARRED FROM PRESENTING ADDITIONAL GROUNDS AT A

LATER DATE.

A. Ground one Trial Counsel was ineffective for failing to

argue that the prior convictions utilized to support the
21 Usc § 851 enhancement were obtained in vinlation of

the U.S. Constitution, and, therefore, invalid.

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' Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 5 of 57 PageID #:75

Supporting FACTS (tell your story briefly without citing cases
or law: .
See attached memorandum in support

 

 

 

 

 

RB. Ground two Appellate counsel was ineffective for failing
to raise Taésue related to prior convictions being invalid.

 

Supporting FACTS (tell your story briefly without citing cases
or law):

See attached memorandum in support

 

 

 

 

 

c. Ground three_Trial and Appellate counsels were ineffective

based on conflicts of interest that existed by the dual

representation of co-defendants. | ,
Supporting FACTS (tell your story briefly without citing cases
or law):

See attached memorandum in support

 

 

 

 
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 6 of 57 PagelD #:76

D. Ground four The district court failed to conduct a required
hearing under Fed.R.Crim.P. 44(¢), and movant was prejudiced

thereby.
Supporting FACTS (tell your story briefly without citing cases
or law:

 

See attached memorandum in support

 

 

 

 

 

15. If any of the grounds listed in 14 A, 3B, C, and D were not
previously presented, state briefly what grounds were not so
presented, and give your reasons for not presenting them:

The aforementioned and issues presented in the attached
contiunation pages were not previously presented because

they were not. proper. except for presentation_in_acollateral
attack pursuant to 28 USC § 2255

 

16. Do you have any petition or appeal now pending in any court 4s
to the judgment under attack? Yes ( ) Na (x )

(A) If “YES,” state the name of the court and the nature of
the proceeding:

 

 

 

17. Give the name and address, if known, of each attorney who
represented you in the following stages of the judgment
attacked herein:

(A) At preliminary hearing Same as (C) infra,

 

(B) At arraignment and pleaame_as (GC) infra.

 
 

 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 7 of 57 PagelD #:77

GROUND FIVE: Trial counsel was ineffective for refusing
to cross examine Juan Corral during trial with specific questions
which would have undermined the government's case against Petitioner;
had trial counsel cross-examined Mr. Corral with the specific
questions there exists a reasonable probability, sufficient to
undermine confidence in the outcome of the trial that the jury
verdict would have been differnt had trial counsel's representation

been sufficient.

Supporting FACTS:
See attached memorandum in support

GROUND SIX: The district court forced Petitioner to acquiesce
ot the predicate state offenses which were utilized to support
the sentencing enhancement applied to Petitioner under 21 USC
§ 851.

Supporting FACTS:
See attached memorandum in support

GROUND SEVEN: Counsel was ineffective for his failure to
properly cross-examine witnesses regarding the conspiracy as
it related to gang conspiracy that was not legally alleged in
the indictment.

Supporting FACTS: See attached memorandum in support

GROUND EIGHT: Counsel was ineffective for failing to utilize
Juan Corral’s testimony during trial that he was self-employed
and that movant didn’ t work for him.

Supporting FACTS: See attached memorandum in support

GROUND NINE: Counsel was ineffective for failing to argue
that movant "s Sentence was unreasonable and excessive and/or
that movant's assessed Criminal History calculation (851) overrepre-

sented his actual Criminal History.

GROUND TEN:

. Counsel was ineffective for failing to empeach Juan Corral's
testimony.

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Supporting FACTS: See attached memorandum

GROUND ELEVEN:Counsel was ineffective for failing to argue that
the government ‘s theory of movant's participationin the charged
conspiracy was flawed.

Supporting FACTS: See attached memorandum

GROUND TUELVE Counsel was ineffective for failing to move for

discovery of the Kane County Jail phones related, to Juan Corral which
could have been used to impeach Mr. Corral' s testimony.
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 8 of 57 PagelD #:78

Supporting FACTS: See attached memorandum in support

GROUND THIRTEEN: Culmulative errors of counsel deprived movant
of a fair trial.

Supporting FACTS: See attached memorandum in support
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18.

13.

 

 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 9 of 57 PagelD #:79

(C) At trial_Robert A. Loeb, Esq. 221 N. LaSalle St. Ste 1938
Chicago, Tilinnis 60401

(D) At sentencing_Same_as (c) supra,

 

(E) On appeal William E. Marsh, Esq. & William H. Dazey, Jr.

Esq. 111 Monument Circle, Ste, 752 Indianapolis, IN 46204

(F) In any post-conviction proceeding N/A

 

(G} On appeal from any adverse ruling in a post-conviction
proceeding

 

 

Were you sentenced on more than one count of an indictment, or
more than one indictment, in the same court and at
approximately the same time? Yes ( ) No (yy }

Do you have any future sentence to serve after you complete
the sentence imposed by the judgment under attack?
Yes ( ) No (x }

(A) If so, give the name and location of the court which
imposed the sentence to be served in the future:

 

 

(B) And give the date and length of sentence to be served in
the future:

 

 
 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 10 of 57 PagelD #:80

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WHEREFORE, movant prays that the Court grant him all relief to
which he may be entitled in this procee . .

 
 
  

 

   
   

Signature of Movant

Signature of attorney (if any)

J declare under penalty of
perjury that the foregoing is

true and correct,
Executed on ry (4

 

Signature of Movant

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i:

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

STEVE LISCANO,
Movant,

UNITED STATES OF AMERICA,
Respondent.

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MOTION TO VACATE, SET ASIDE, OR CORRECT
SENTENCE PURSUANT TO 28 U.S.C. §2255

Movant STEVE LISCANO Chereinafter "movant") submits his
petition under 28 U.S.C. § 2255, instanter. Movant has filed
his petition within the one-year of the date on which the judgment
of conviction became final. See Clay v. United States, U.S.
__» 123 §. Ct. 1072, 1075 (2003)(holding that "[fJor the purpose.
of starting the clock on § 2255's one-year limitation period ...
a judgment of conviction becomes final when the Time expires for
filing a petition for certiorari contesting the appellate court's
affirmation of the conviction ... 90 day's after entry of the
Court of Appeals' judgment").

The deadline for movant to file his petition under § 2255
is March 01 , 2009. This District Court therefore has
jurisdiction over the instant petition pursuant to 28 U.S.C. §

2255.

 
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 12 of 57 PagelD #:82

STATEMENT OF THE CASE

Movant Steve Liscano was charged, along with others, with
conspiracy to possess with intent to distribute and to distribute
in excess of 5 kilograms of cocaine in violation of 21 U.S.C.

§§ 841(a)(1) and 846 in count one of an indictment filed November
20, 2002. Estremera (in count eleven) was also charged with felon
in possession of a firearm in violation of 18 U.S.C. § 922(¢)(1).

The government, on May 19, 2003, filed its notice of intent
to offer evidence pursuant to Federal Rule of Evidence 404(b)
at trial concerning conversations Estremera had regarding marijuana.

A joint jury trial conducted June 5 + 17, 2003 resulted in
guilty verdicts on each charged count on June 17, 2003.

At the close of the government's case, each defendant moved
for judgment of acquittal challenging the sufficiency of the evidence,
which the district court denied.

In a bifurcated proceeding, the jury returned verdict forms
finding as to each defendant that the conspiracy charged in Count
one involved in excess of five kilograms of cocaine.

Sentencing hearings in Movant's and Estremer's cases were
delayed significantly following Pena's sentencing pending resolution
of United States v. Booker, 543 U.S. 220 (2005).

On May 21, 2003, a complaint alleging three prior felony
drug convictions had been filed against Movant pursuant to 21
U.S.C. § 851. The district court found the existence of two convic-
tions to require a mandatory sentence of life in prison and imposed

such a sentence by judgment of conviction dated November 29, 2005.
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 13 of 57 PagelD #:83

Movant on December 9, 2005, filed a timely notice of appeal.
By order dated the Court of Appeals dated January 5, 2006,
the appeals of movant and co-defendant Estremera were consolidated.
On July 16, 2007, the Court of Appeals for the Seventh Circuit
affirmed this Court's judgment as to movant. See, 493 F.3d 879
(7th Gir. 2007), and on August 27, 2007, a petition for rehearing
and suggestion for rehearing en banc was denied.
On February 25, 2008, movant's petition for writ of certiorari
to the United States Court of Appeals for the Seventh Circuit
was denied by the Supreme Court. See, 170 L. Ed. 2d 287, __—s'U.S.

, Liscano v. United States.
STATEMENT REGARDING THE ANTI-EFFECTIVE DEATH PENALTY ACT

In an effort to meet the filing statutory deadline one-year
Limit imposed by the Anti-effective Death Penalty Act of 1996,
movant is filing the instant petition and shall make factual and
supporting caselaw amendments hereto on or before April 25, 2009.
Generally, Courts allow a movant in a section 2255 proceeding
to make amendments and/or supplements to a timely filed § 2255
motion pursuant to Rule 15 of the Federal Rules of Civil Procedures,
even if the amendment/supplement is filed after the one-year dead-
line. See, e.g., United States v. Thomas, 221 F.3d 430, 438 (3d
Cir. 2000); United States v. Pittman, 209 F.3d 314, 318 (4th Cir.
2000); United States v. Espinosa-saenz, 235 F.3d 501, 504-05 (10th
Cir. 2001).

PRINCIPLES OF SECTION 2255
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 14 of 57 PagelD #:84

As stated supra, a detailed memorandum shall be Filed in
support of the instant petition on or before April 25, 2009.

Movant now raises claims that he shall characterize as claims
of ineffective assistance of counel. To establish ineffective
assistance of counsel, movant must show that (1) his attorney's
performance "fell below an objective standard of reasonableness,"
and (2) “but for counsel's unprofessional errors the result of
the proceedings would have been different." Strickland v. Washington,
466 U.S. 668, 688 (1984).

In the instant § 2255 petition, movant asks this Court to
vacate his conviction and sentence because his attorney was constitu-
tionally ineffective in violation of the Constitution or laws
of the United States.” 28 U.S.C. § 2255.

Relief under § 2255 is available for errors of constitutional
or jurisdictional magnitude, or where the error represents a funda-
mental defect which inherently results in a complete miscarriage
of justice. Kelly v. United States, 29 F.3d 1107, 1112 (7th Cir.
1994)(quotations omitted).

The Sixth Amendment to the United States Constitution provides
that "[i]n all criminal prosecutions, the accused shall enjoy
the right...to have the assistance of counsel for his defense."
U.S. Const. amend. VI. This right to assistance of counsel encom-
passes the right to effective assistance of counsel. McMann v.
Richardson, 397 U.S. 759, 771 n.14 (1970). A party claiming inef-
fective assistance of counsel bears the burden of showing prongs

outlined above and cited from the controlling case of Strickland

v. Washington.
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 15 of 57 PagelD #:85

To satisfy those prongs, movant must direct the Court's atten-
tion to specific acts or omissions of his counsel. Fountain v.
United States, 211 F.3d 429, 434 (7th Cir. 2000)(citing United
States v. Trevino, 60 F.3d 333, 338 (7th Cir. 1995). The Court
must then consider whether in light of all the circumstances coun-
sel's unprofessional errors, the result of the proceedings would
have been different. Fountain, 211 F.3d at 434; Adams v. Bertrand,
453 F.3d 428, 435 (7th Cir. 2006). A reasonable probability is
defined as one that is sufficient to undermine confidence in an
outcome, Adams, 453 F.3d at 435 (citing Strickland, 466 U.S. at
694). |

With these principles in mind, movant advances the following

claims:

GROUND ONE: Trial Counsel was ineffective for failing to
argue that the prior convictions utilized to support the 21 U.S.¢.
3 9851 sentencing enhancement were obtained in violation of the
United States Constitution and therefore, invalid.

21 U.S.C. § 841(b)(1)(A) - (D) provide for enhanced statutory
Penalties if the defendant commits a violation of the statute
“after a prior conviction for a felony drug offense becomes final.”
United States v. Damerville, 27 F.3d 254, 258 (7th Cir. 1994).

Before trial, or before entry of a plea of guilty the United
States Attorney must file an information (and serve it on the
defendant or his counsel) "stating in writing the previous convic-
tions to be relied upon." 21 U.S.C. § 851f€a}(1). United States
v. Spence, 450 F.3d 691, 695 (7th Cir. 2006).

The district court must then ask the defendant whether he
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 16 of 57 PagelD #:86

admits or denies the prior convictions. See 21 u.six, § 851(b).
United States v. Williams, 298 F.3d 688, 693 (7th Cir. 2002).

A defendant has the right to attack enhancement under this
provision on the ground that the prior conviction relied upon
was obtained in violation of the United States Constitution or
otherwise invalid. See 21 U.S.C. § 851(c)(1) and (2). The defendant
must prove the invalidity of the prior conviction by a preponderance
of the evidence. See 21 U.S.C. § 851(¢)(2). United States v.
Feliciano, 498 F.3d 661, 664 (7th Cir. 2007).

Trial counsel had an opportunity prior to sentencing to deny
that the convictions relied upon by the government to enhance
movant's sentence were invalid constitutionally and therefore
could not be utilized for such an enhancement, but failed to do
BO.

Specifically, movant informed trial counsel that the state
conviction the government was relying upon, see Exhibit A hereto,
were presumptively void based on the fact that the convictions
were obtained in violation of the sixth amendment to the United
States Constitution.

Courts have carved out an allowance permitting a collateral
attack on a prior conviction that is presumptively void--that
is where as here in the instant case, a conviction lacking constitu-
tionally guaranteed procedures plainly detectable from a facial
examination of the record. See United States v. Mitchell, 18
F.3d 1355, 1360-61 (7th Cir.), cert. denied, 130 L. Ed. 2d 546,

115 S. Ct. 640 (1994).

Movant informed trial counsel that the conviction for posses-
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 17 of 57 PagelD #:87

sion of a Controlled Substance in Kane County Gircuit Court which
took place on or about sume 3” 7000 ,» was obtained in violation
of the Sixth Amendment to the United States Constitution because
the plea of guilty that was entered in the case was entered without
the assistance of counsel and this is supported by the fact
that a facial examination of the record, the presentence Investiga-
tion Report at Page 10, lines 192-285 does not disclose that movant
was represented by counsel during the proceeding at issue. See
B hereto. If a prior conviction was obtained from a defendant
who lacked representation of counsel as guaranteed by Gideon v.
Wainwright, 372 U.S. 335, 9 L. Ed. 24 799, 83 S. Ct. 792 (1963),
that prior conviction may not be used to enhance a sentence for
subsequent offense.

The plea that was entered in the state charge that was used
to enhance movant's federal charge for sentencing purposes i.e.,
the state conviction that occurred on hme 3° 7340 , was unknowing
and unintelligently made. A plea of guilty is more than a confes-
Sion which admits that the accused did various acts; it is itself
a conviction; nothing remains but to give judgment and determine
punishment. See Kercheval v. United States, 274 U.S. 220, 223,
71 iL. Ed. 1009, 1012, 47 S. Ct. 582. Admissibility of a confession
must be based on a “reliable determination on the voluntariness
issue which satisfies the constitutional rights of the defendant."
Jackson v. Denno, 378 U.S. 368, 387, 12 L. Ed. 2d 908, 922, 84
5. Ct. 1774, 1 ALR 3d 1205. The requirement that the prosecution

Spread on the record the prerequisites of a valid waiver is no

constitutional innovation. In Carnley v. Cochran, 369 U.S. 506,
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 18 of 57 PagelD #:88

516, 8 L. Ed. 2d 70, 77, 82 5. Ct. 884, we dealt with a problem
of waiver of the right to counsel, a Sixth Amendment right. Pre-
suming waiver from a silent record is impermissible. The record
must show, or there must be an allegation and evidence which shows,
that an accused was offered counsel but intelligently and understand-
ingly rejected the offer. Anything less is no waiver.

The same standard must be applied to determining whether
a guilty plea is voluntarily made. See 395 U.S. at 243. A plea
of guilty is more than an admission of conduct; it is a conviction.

If a prior conviction was obtained from a defendant who lacked
representation of counsel as guaranteed by Gideon v. Wainwright,
372 U.S. 335, 9 L. Ed. 2d 799, 83 5. Ct. 792 (1963), that prior
conviction may not be used to enhance a sentence for subsequent
offense.

The plea that was entered in the state charge that was used
to enhance movant's federal charge for sentencing purposes i.e.,
the state conviction that occurred on July 31, 1995, was unknowing
and unintelligently made. A plea of guilty is more than a confes-
sion which admits that the accused did various acts; it is itself
a conviction; nothing remains but to give judgment and determine
punishment. See Kercheval v. United States, 274 U.8. 220, 223,
71s“. Ed. 1009, 1012, 47 S. Ct. 582. Admissibility of a confession
must be based on a "reliable determination on the voluntariness
issues which satisfies the constitutional rights of the defendant."
Jackson v. Denno, 378 U.S. 368, 387, 12 L. Ed. 2d 908, 922, 84
S. Ct. 1774, 1 ALR. 3d 1205. The requirement that the prosecution

spread on the record the prerequisites of a valid waiver is no
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 19 of 57 PagelD #:89

constitutional innevation. In Carney v. Cochran, 369 U.S. 506,

516, 8 L. Ed. 2d 70, 77, 82 S. Ct. 884, we dealt with a problem

of waiver of the right to counsel, a Sixth Amendment right. Pre-
suming waiver from silent record is impermissible. The record
must show, or there must be an allegation and evidence which shows,
that an accused was offered counsel but intelligently and under-
standingly rejected the offer. Anything less is no waiver.

The same standard must be applied to determining whether
ignorance, incomprehension, coercion, terror, inducements, subtle
or blatant threats might be a perfect cover-up of unconstitutiona-
lity. The question of an effective waiver of a federal constitution-
al right in a proceeding is of course governed by federal standards.
Douglas v. Alabama, 380 U.S. 415, 422, 13 L. Ed. 2d 934, 938,

85 S. Ct. 1074,

Several federal constitutional rights are involved in a waiver
that takes place when a plea of guilty is entered in a state criminal
trial. First, is the privilege against compulsory self-incrimination
guaranteed by the Fifth Amendment and applicable to the States
by reason of the Fourteenth. Malloy v. Hogan, 378 U.S. 1, 12 L.

Ed. 2d 653, 84 8S. Ct. 1489. Second, is the right to trial by

jury. Ducan v. Louisiana, 391 U.S. 145, 20 L. Ed. 2d 491, 88 5.

Ct. 1444. Third, is the right to confront one's accusers. Pointer
v. Texas, 380 U.S. 400, 13 L. Ed. 2d 923, 85 S. Ct. 1065. Courts
cannot presume a waiver of these important federal rights from

a silent record, a silent record which is present in the case

at bar. What is at stake in this case demands the utmost solicitude

of which courts are capable in canvassing the matter with the
 

 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 20 of 57 PagelD #:90

accused to make sure he has a full understanding of what the plea
connotes and of its consequences, and that simply did not occur
in the state Court in this matter, the state Court failed to dis-
charge a function and leave an adequate record for any review,
in particular, a review by this federal Court prior to determining
that the underlying conviction qualified for enhancement purposes,
and because it didn't and the record was silent on the matter
and because movant himself informed trial counsel of these circums-
tances, trial counsel had a professional obligation to argue that
the prior convictions utilized to support the 21 U.S.C. § 851
sentencing enhancement were obtained in violation of the United
States Constitution and therefore invalid, and failed to do so
rendered counsel's performance ineffective. |
In support of movant's claim that because the record was
silent as to his guaranteed Six Amendment Constitutional right
to counsel, movant advances the following supporting case Law:
Burgett v. Texas, 389 U.S. 109 (1967) (the Court held that it viola-
ted the defendant's Sixth Amendment right to counsel to consider
the invalid pricr conviction to support his guilt or enhance his
punishment); United States v. Tucker, 404 U.S. 443 (1972)(the
Supreme Court held that the defendant's sentence could not stand
because it was "founded at least in part upon misinformation of
constitutional magnitude"); United States v. Johnson, 612 F.2d
305 (7th Cir. 1980)(the Seventh Circuit found that the defendant's
prior conviction was invalid because the guilty plea was infirm).
Further, a federal prisoner is entitled to resentencing if

the district court relies on prior unconstitutional state convictions

 
 

Case: 1:09-cv-01347-Document #: 7 Filed: 04/07/09 Page 21 of 57 PagelD #:91

to enhance a federal sentence. See United States v. Tucker, 404
U.S. 443 (1972); also see Zabel v. United States Attorney, 829
F.2d 15, 17 (8th Cir. 1987), moreover, this claim is cognizable
under 28 U.S. §[2255], see Lowery v. Young, 887 F.2d 1309 (7th
Cir. 1989).

As to the two-prongs of Strickland v. Washington being met
on this claim, movant demonstrates that the errors alleged supra
by trial counsel were so egregious that he was not functioning
as counsel guaranteed by the Sixth Amendment and that deficient
performance prejudiced movant because had the relied upon convic-
tion been deemed invalid, movant would not had been mandatorily
subjected to an enhanced sentence of life.

Hence, a showing has been made that the results of the trial
are unreliable and that counsel's errors were so serious that
they denied movant of a fair trial and movant has made the showing
Necessary to establish that the conviction and sentence resulted
from a break-down in the adversarial process, rendering the result

unreliable. Strickland, 466 U.S. at 687.

GROUND TWO: Appellate Counsel was ineffective for failing
to raise issue related to prior convictions being invalid.

The argument set forth supra at GROUND ONE supra is hereby
incorporated by reference as though fully set forth here.

Further, movant submits that there is no question that the
due process clause gives convicted defendants the right to he
sentenced on the basis of accurate information. See Blake v. United
States, 841 F.2d 203, 206 (7th Cir. 1988); United States v. Rone,
743 F.2d 1169, 1171 (7th Cir. 1984). If a convicted defendant
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 22 of 57 PagelD #:92

can show that the information before the sentencing court was
incorrect in imposing an enhanced sentence, the sentence will

be vacated. Rone, 743 F.2d at 1171; United States v. Harris, 558
F.2d 366 (7th Cir. 1977).

The Seventh Circuit has held however, that a district court
cannot reach the merits of an appealable issue in a section 2255
proceeding unless that issue has been raised in a procedurally
appropriate manner. Williams v. United States, 805 F.2d 1301 (7th
Cir. 1986), cert. denied, 481 U.S. 1039, 107 S. Ct. 1978 (1987).
A petition under section 2255 “will not be allowed to do service
for an appeal." Johnson v. United States, 838 F.2d 201, 202 (7th
Gir. 1988)(citations omitted). A failure to raise constitutional
challenges to a conviction on direct appeal bars a petitioner
from raising the same issue in a section 2255 proceeding ~-absent
& showing of good cause for and prejudice from the failure to
appeal. Norris v. United States, 687 F.2d 899, 903-904 (7th Cir.
1982)+ see also United States v. Kovic, 830 F.2d 680, 684 (7th
Cir. 1987).

Both aspects, cause and prejudice, must be satisfied to enable
this movant to avoid the waiver caused by the failure to raise
the instant issue in his direct appeal. United States v. Griffin,
765 F.2d 677, 682 (7th Cir. 1985). That is, movant must show
both (1) good cause for his failure to pursue the instant issue
on direct appeal, and (20 actual prejudice stemming from the alleged
constitutional violation.

To establish good cause, movant avers that his appellate

counsel unprofessionally refused to include this particular issue

 
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 23 of 57 PagelD #:93

on direct appeal notwithstanding the fact that the issue was fully
preserved and that the issue had arguable merit.

The performance of movant’s appellate counsel in this regard
was objectively unreasonable.

To establish prejudice, movant submits that he was prejudiced
because appellate counsel failed to raise a meritorious and legally
preserved issue, without cause to do sa.

GROUND THREE: TRIAL AND APPELLATE COUNSELS WERE INEFFECTIVE
BASED ON CONFLICTS OF INTEREST THAT EXISTED BY THE DUAL REPRESENTATION
OF GO-DEFENDANTS .

Claims of ineffective assistance of counsel due to attorney
conflict of interest in a general sense are governed by the familiar
two-part standard of Strickland, supra. Under that standard,
the defendant must show first that his counsel's performance fell
below the Level of expected of a reasonably competent attorney.
Strickland, 466 U.S. at 687. Second, in the usual case, the defen-
dant must establish prejudice by showing "a reasonable probability
that, but for counsel's unprofessional errors, the result of the
proceeding would have been different." 466 U.S. at 694.

However, the court's have developed a slightly different
analysis where a defendant bases a claim of ineffective assistance
on an allegation tht the attorney in question was laboring under
an actual conflict of interest. The performance element of the
Strickland analysis is satisfied when the defendant establishes
that his counsel was involved in an actual conflict of interest,
as "the effective performance of counsel requires meaningful compli-

ance with the duty of loyalty and the duty to avoid conflicts
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 24 of 57 PagelD #:94

of interest, and a breach of these basic duties can lead to ineffec-
tive assistance and representation.” United States v. Tatum, 943
F.2d 370, 375 (4th Cir. 1991); see also Strickland, 466 U.S. at
692. As for the prejudice requirement, “when counsel for a defen-
dant in a criminal case has an actual conflict of interest when
representing the defendant and the conflict adversely affects
counsel's performance in the defense of the defendant, prejudice
to the defense is presumed," thus entitling the defendant to a
new trial or sentencing. Tatum, 943 F.2d at 375; see also Strickland,
466 U.S. 335, 348-50. And it has been said that such an actual
conflict of interest may never be harmless error. See Glasser
v. United States, 315 U.S. 60, 76 (1942).

Under the foregoing analysis, then this Court must determine
1) whether movant's attorney faced an actual conflict of interest
during trial, sentencing and the appellate proceedings, and 2)
if so, whether that conflict resulted in an adverse effect on
counsel's performance in advancing movant's position. These are
fact-based inquires that may be intertwined; thus the same facts
tegarding the representation in question may supply the answer
to both questions. See Tatum, 943 F.2d at 375.

First, the following facts reveal that counsel(s) were under
an actual conflict of interest during the trial proceedings.
Trial counsels Lowe and » filed joint motions
and briefs related to the § 851 sentencing enhancements as to
both movant and codefendant Abraham Estremera, i.e., Docket Nos.

, and joint motions related to various

sentencing relief based upon Blakely v. Washington. See Docket
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 25 of 57 PagelD #:95

Nos.

Each defendant's criminal history with regard to the § 851
enhancement was drastically different and the facts leading to
each predicate of fense being utilized to make those enhancements
were different, yet counsels for the defendants lumped all the
arguments made together as if the arguments were being made for
a single defendant verses the unique individuality of each of
these defendants.

Likewise, the arguments made in the joint motion(s) related
to Blakely v. Washington, which argued matters related to an in-
dividual defendant's drug amount and that "because the jury made
no finding of any amount of drugs reasonable foreseeable to [movant ]
or...Estremera individually...," raises a conflict of interest
which adversely affected counsel(s) performance in representing
Movant. "When the attorney [as here] is actively engaged in legal
representation which requires him to account to two masters, an
actual conflict exists where as here, it can be shown that he
took action on behalf of one. The effect of his action of necessity
will adversely affect the appropriate defense of the another."
Tatum, 943 F.2d at 376. Here counsel and co-counsel, advanced
legal arguments that benefited one co-defendant and/or prejudiced
that co-defendant because the background of the other co-defendant
reflected negatively on the other and in some instances even bene-
fited the position of one defendant to the detriment of the other.

Therefore, movant's right under the Sixth Amendment to the
United States Constitution to conflict-free representation has

been violated.
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 26 of 57 PagelD #:96

GROUND FOUR: The district court failed to conduct a required
hearing under Fed.R.Crim.P. 44(c), and movant was prejudiced thereby.

Joint Representation
Movant argues that he was prejudiced by the district court's
failure to conduct a hearing under Rule 44(c) after discovering
that movant was being jointly represented in various pretrial
and trial as well as sentencing motions filed by his appointed
counsel.
This prejudice arose because the jointly filed various motions
often if not each time negatively reflected against movant to
the advantage of the jointly represented co-defendant Mr. Estremera.
The Sixth Amendment entitles a defendant in a criminal case
to the effective assistance of competent counsel. Powell v. Alabama,
287 U.S. 45, 77 L. Ed. 2d 158, 53 8. Ct. 55 (1932). Although
multiple representation is not a per se violation of the Sixth
Amendment, Holloway v. Arkansas, 435 U.S. 475, 482 (1978) it's very
nature creates a great potential for conflicts of interest. "“De-
fense counsel have an ethical obligation to avoid conflicting
representations and to advise the court promptly when a conflict
of interest arises during the course of trial." Cuyler v. Sullivan,
446 U.S. at 346.
Fed.R.Crim.P. 44(c) is designed to protect a defendant's
Sixth Amendment right to counsel when two or more defendants are
represented by the same counsel. This rule requires that:
the court shall promptly inquire with respect to
such joint representation and shall personally
advise each defendant of his right to the effective
assistance of counsel, including separate represen-

tations. Unless it appears that there is good
cause to believe no conflict of interest is likely
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 27 of 57 PagelD #:97

to arise, the court shall take such measures as
may be appropriate to protect each defendant's
right to counsel.
Fed. R. Grim. P. 44(c).
A defendant may waive his right to conflict-free representa-
tion. Holloway v. Arkansas, 435 U.S. 475, 483 n.5, 55 L. Ed. 2d
426, 98 S. Ct. 1173 (1978) provided that the waiver is knowing,
intelligent, and voluntary. Brady v. United States, 397 U.S. 742,
748, 25 L. Ed. 2d 747, 90 S. Ct. 1463 (1970) waiver of constitution-
al rights not only must be voluntary but must be knowing, intelligent
acts done with sufficient awareness of the relevant circumstances
and likely consequences"). Rule 44 and its notes discuss the type
of waiver which the district court should secure. The court must
personally address each defendant and inform him of the potential
hazards of representation by a single attorney, as well as his
right to seperate representation. In turn, the defendants are
free to ask the court questions about the nature and consequences
of the representation:
Most significantly, the court should seek to elicit a narrative
response from each defendant that he has been advised of
his right to effective representation, that he understands
the detail of his attorney's possible conflict of interest
and the potential perils of such a conflict, that he has
discussed the matter with his attorney or if he wishes outside
counsel, and that he voluntarily waives his sixth amendment
protections.
Fed.R.Crim.P. 44(¢c) Advisory Committee Note.

Here in the instant case, the trial court failed to discuss
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 28 of 57 PagelD #:98

the possibility of conflict with the defendants as required

by R. 44{c).

Further, neither defendant executed a waiver, stating that

they had "carefully considered" the possibility of conflicts

of interest in joint representation.

Movant was not aware of the particular nature of any conflicts

of intereat which may have come into sharp focus during trial.

United States v. Agosto, 675 F.2d 965, 976 (8th Cir. 1982),

cert denied, 459 U.S. 834, 74 L. Ed. 2d 74, 103 S. Ct. 77

(1982)("it is impossible to describe in full detail the con-

flicts which may arise during the trial").

Accordingly, the trial court failed to comply with Fed.R.Crim.P.

44(e).

GROUND FIVE: Trial counsel was ineffective for refusing
to cross-examine Juan Corral during trial with specific questions
which would have undermined the government's case against Petitioner;
had trial counsel cross-examined Mr. Corral with the specific
questions there exists a reasonable probability, sufficient to

undermine confidence in the outcome of the trial that the jury
verdict would have been different had trial counsel's representation

been sufficient.

During the trial proceedings in this case, Petitioner provided
trial counsel with a set of specific relevant questions to cross-
examine the government's chief witness Juan Corral, questions
which went directly to the allegations made by the government
and formed the basis for the underlying indictment in this case.

Trial counsel flat out refused to cross-examine the govern-
ment's witness Mr. Corral with the questions presented. Copies
of the actual written questions provided to trial counsel are

attached hereto and marked Exhibit _A , and are hereby incorpora-
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 29 of 57 PagelD #:99

ted by reference as though fully set forth herein. See Fed. R.
Civ. P. 10(¢); see, Rosenblum v. Travelbus.com Ltd., 299 F.3d
657, 661 (7th Cir. 2002).

Following the juries return of the verdict and prior to sen-
tencing, Petitioner once again requested that trial counsel consider
utilizing the attached written questions marked Exhibit _«
and call y;, Corral to testify at the sentencing proceeding in
this matter; counsel agreed.

The questions were asked and the witness Mr. Corral answered
with testimony that generally undermined the government's version
of the case and those answers seriously brings into question the
validity of the testimony given by Mr. Corral during trial and
the government's allegations forming the basis for both the grand
jury proceedings and the resulting indictment from those proceedings,
creating a reasonable probability that the jury verdict would
have been different had trial counsel utilized the provided question
during cross-examination during the trial in this case.

Under Strickland, a defendant must establish both that his
counsel's performance at sentencing was seriously deficient and
also that he suffered prejudice as a result of such deficiency.
Strickland, 466 U.S. at 687.

When complaining of his counsel's deficient performance, a con-
victed defendant must show that counsel's representation fell
below “an objective standard of reasonableness" under “prevailing
professional norms." Strickland, 466 U.S. at 688. A reviewing
court must judge the reasonableness of counsel's actions on the

facts of the defendant's case, viewed from counsel's perspective
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 30 of 57 PagelD #:100

at the time, recognizing that "counsel is strongly presumed to

have rendered adequate assistance and made all significant decisions
in the exercise of reasonable professional judgment." Id. at 690,

In essence, a defendant has the burden of proving, by 4 preponderance
of the evidence, that "counsel made errors so serious that counsel
was not functioning as the ‘counsel' guaranteed the defendant

by the Sixth Amendment." Id. at 687.

"Because advocacy is an art and not a science,.--Lcounsel's]
strategic choices must be respected" if they were "made after
thorough investigation of law and facts relevant to plausible
options." Id. at 681, 690. Such choices can vary greatly from
attorney to attorney and from case to case, and reviewing courts
must scrutinize these choices with a great deal of deference.
Indeed, such strategic choices are virtually unchallengeable.

Id. As explained by the Supreme Court.

Judicial serutiny of counsel's performance must be deferential.

A fair assessment of attorney performance requires that every
effort be made to eliminate the distorting effects of hindsight,
to reconstruct the circumstances of counsel's challenged conduct,
and to evaluate the conduct from counsel's perspective at the
time. Because of the difficulties inherent in making the evaluation,
a court must indulge a strong presumption that counsel's conduct
falls within the wide range of reasonable professional assistance;
that is, the defendant must overcome the presumption that, under
the circumstances, the challenged action might be considered sound
trial strategy. Id. at 689 (internal quotation marks and citations

omitted). Thus, counsel cannot be adjudged ineffective for perform-
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 31 of 57 PagelD #101

ing in a particular way in a case, as long as the approach taken
"might be considered sound trial strategy." Id.

In this case, petitioner contents that his trial counsel's
failure to cross-examine and confront Mr. Corral, the sole witness
for the government, had no tactical justification and, instead,
amounted to constitutionally deficient performance.

The record in this case leaves no doubt that there is a reason-
able probability that the jury's verdict could have been different
had trial counsel cross-examined the witness with the provided
questions and subject his direct testimony to cross-examination,
"the greatest legal engine ever invented for the discovery of
truth." California v. Green, 399 U.S. 149, 158, 90 S. Ct. 1930,

26 L. Ed. 2d 489 (1970)(quoting Wigmore, Evidence 1367).

Therefore, the decision on trial counsel's part was unreasonable
and does not amount to any trenching upon sound trial strategy
after the fact, nor would it implicate the injunction that "an
ineffective-assistance-of-counsel claim cannot survive so long
as the decisions of a defendant's trial counsel were reasonable,
even if mistaken." Campbell v. coyle, 260 F.3d 531, 551 (6th Cir.
2001). The failure of counsel to participate in a critical phase
of the trial, and to subject the State's case to meaningful adversar-
jal testing, on the sole ground of lack of preparation, "was not
a reasonable strategic decision entitled to deference." Moss v.
Hofbauer, 286 F.3d 851, 864 (6th Cir. 2002)](finding that defense
counsei's reliance on the cross-examination of an eyewitness by

a co-defendant unreasonable when the two defendants’ interests

were not aligned).
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 32 of 57 PagelD #:102

GROUND SIX: The district court forced Petitioner to acquiesce
to the predicate state offenses which were utilized to support
este enhancement applied to Petitioner under 21 U.S.C.

During the §851 hearing that took place in this case, the
district court forced Petitioner to acquiesce to the validity
of the predicate state offenses which were utilized to support
the sentencing enhancement applied to Petitioner and resulted
in a sentence of life under 21 U.S.C. §841(b)(1)(A).

A review of the §851 hearing transcript will support the
instant claim i» The §851 hearing record is therefore and hereby
incorporated by reference as though fully set forth herein. See
Fed.R.Civ.P. 10(c).

This ground shall be supplemented following the taking of
discovery and Petitioner obtaining certified coples of the §851
hearing transcript in question.

GROUND SEVEN: Counsel was ineffective for his failure to

properly cross-examine witneses regarding the conspiracy as it
related to gang conspiracy that was not legally alleged in the

indictment.

In support of this claim, trial transcript Vol. 3, pages
398 and 428 are incorporated by reference. Also, Movant invokes
the holding in United States v. Lechuga, 994 F.2d 346 (7th Cir.
1993), also trial transcript Vol. 4, pages 600, 634, 807 are incor-

porated by reference in support of this ground.

GROUND EIGHT: Counsel was ineffective for failing to utilize
Juan Corral's testimony during trial that he was self-employed
and that movant didn't work for him.
 

 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 33 of 57 PagelD #:103

In support of this claim, trial transcript Vol. 4, page 823.
GROUND NINE: Gounsel was ineffective for failing to argue
that movant's sentence was unreasonable and excessive and/or that

my assessed Griminal History calculation (851) overrepresented
my actual Criminal History background.

GROUND TEN: Counsel was ineffective for failing to empeach
Juan Corral's testimony. a

GROUND ELEVEN: Counsel was ineffective for failing to argue:

The Government's THEORY of my PARTICIPATION IN THE CONSPIRACY,
IS FLAWED FOR TWO REASONS FIRST AND FOREMOST THE GOVERNMENT 's
star witness and only witness in this case Corral testifies at
trial that I did not work for him. Trial Transcript. Also he
never testifies that the May 13 calls were because I was acting
as a look-out/sercurity for him on that day or any other day
or time within the charged conspiracy.

During sentencing Corral testifies that 1 was not a sercurity
man for him. Sentencing Transcript, page 29. He also testifies
I wasn't assisting him in any drug deal during the May 13 call.

I didn't know if he possessed any drugs at his home. Sentencing
Transcript, 30.

His testimony was I didn't know where he kept or stored his
drugs. Sentencing, 31, Second during sentencing the judge only
held me accountable for the drugs Corral allegedly sold me so
if the judge would have believed the government's theory of me
being a look-out man for Corral during his conspiracy then
he should have held me foreseeable for the amounts that I was
looking out for unfortunately the government can't point to any
time when something Like this took place.

Therefore these accusations made by the Government prejudice
 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 34 of 57 PagelD #:104

Liscano and caused a variance in the Indictment requiring rever-
sal in Liscano’s conviction.

GROUND TWELVE: Counsel was ineffective for failing to move
for discovery of the Kane County Jail phones related to Juan
Corral which could have been used to impeach Mr. Corral ’s testi-
mony .

My trial counsel Mr. Lowe coerced me into stipulating to
matters related to telephone calls originating from the Kane
County Jail related to conversations that Mr. Juan Corral was

a party to. These telephone calls were critical to my proving

that I was not guilty of the charges advanced in the indictment.

GROUND THIRTEEN: Culmulative errors of counsel deprived
movant of a fair trial.

Movant claims that he was denied the effective assistance
of counsel based on counsel's culmulative errors as advanced
in all grounds supra, which taken together, deprived movant
of his guaranteed right to the effective assistance of counsel

under the Sixth Amendment to the United states Constitution.

MOVANT'S REQUEST FOR AN EVIDENTIARY HEARING
Movant submits that under the principles of Townsend v.
Sain, 372 U.S. 293 (1963), he has met the necessary requirements
to warrant holding an evidentiary hearing in order to develop
the factual basis for his ineffective assistance of counsel

claims advanced.
Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 35 of 57 PagelD #:105

Wherefore, all premises considered, movant prays
that the Honorable Court vacate, set aside, or correct

movant sentence on the grounds advanced herein and that

this matter be set for an evidentiary hearing on all

grounds presented. , }
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. kip"
Dated: 1-499 Res
LISCANO, Pro Se

Federal Correctional Complex
P.O. Box 33
Terre Haute, IN 47808-0033

submitted,

  
   

CERTIFIGATE OF SERVICE

I hereby certify that an original and two correct copies
of the foregoing motion have been mailed to the Clerk of
the Court, United States District Court for the Northern
District of Illinois at 219 S. Dearborn &t., Chicago,
Illinois 60604 via first-class certified U.5. Mail,
postage prepaid on this day of February, 2009; also
a true correct copy of the same has been sent to the
following adverse party of interest via first-class
U.S. Mail, postage prepaid as follows:

U.S. Attorney

219 S. Dearborn St.
Chicago, Illinois 60604

   

STEVE LISCANO
 

 

Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 36 of 57 PagelD #:106

EXHIBIT A
 

 

 

‘ Case: 1:09-cv-01347 Document # 7 Filed: 04/07/09 Page 37 of 57 PagelD #:107

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. Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 38 of 57 PagelD #:108

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. Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 39 of 57 PagelD #:109

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: Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 40 of 57 PagelD #:110

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,, Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 41 of 57 PagelD #:111

 

 
 

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 43 of 57 PagelD #:113

EXHIBIT B
 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 44 of 57 PagelD #:114

 

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1
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
| EASTERN DIVISION
UNITED STATES OF AMERICA,
| Plaintiff,
| Vs. No. 02 CR 719-11, -16
ABRAHAM ESTREMERA and . oe
STEVE LISCANO, Chicago, Illinois
November 29, 2005
Defendants. 10:00 o'clock a.m.

TRANSCRIPT OF PROCEEDINGS - Sentencings
BEFORE THE HONORABLE JAMES F. HOLDE

APPEARANCES :

- For the Plaintiff: HON. PATRICK J. FITZGERALD
United States Attorney
219 South Dearborn Street
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MR. LAWRENCE BEAUMONT

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For Defendant Liscano: MR. ROBERT A. LOEB
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U.S. Probation: Ms. Danielle Brown
Mr. Zakary Freeze

Also Present: FBI Agent Paul Bock

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 45 of 57 PagelD #:115

 

| Corral - direct dee a 29
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BY MR. LOEB ( og G7

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eae
Q. Mr. Liscano, excuse me. You don't Have a specific

memory of selling half a kilo to Mr. Liscano then, do you?
A. For the ten thousand, I do.

THE COURT: I am sorry. I didn't hear that last
answer.

THE WITNESS: I said for the ten --

THE COURT: For the ten thousand, you do?

THE WITNESS: Yes.

THE COURT: Okay.

BY MR. LOEB:

Q. Steve Liscano didn't ever work for you as like a
security man, did he?

A. No, he did not.

MR. BEAUMONT: I object. That's not relevant.
It's not relevant to any issue before this Court.

There's no issue is he a member of the conspiracy
or not. The only issue is, according to counsel, is the
foreseeability of the drugs, I suppose.

THE COURT: I understand your objection. I will
allow --

MR. LOEB: Judge, another question or two, I think
we'l] tie it up.

THE COURT: I will allow the inquiry.

You may proceed.

 

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 46 of 57 PagelD #:116

 

 

Corral - direct by Loab 30
BY MR. LOEB:
Q@. You recall that there was a time that Steve Liscano gave
you a phone call and said there are some cops on your block?
A. Yes.
Q. Okay. When he made that call, he wasn’t in the act of
assisting you on any drug deals, was he?
A. No, he wasn't.
Q. To your knowledge, he didn’t know whether or not you
had -- you possessed any cocaine at your home?
A. No, he did not.
Q. A lot of your customers were individuals who were
unrelated to the Latin Kings street gang, right?
A. That's correct.
Q. By that time, Steve Liscano wasn't even active in the
Latin Kings anymore, right?
A. I can't say if he was or he wasn't.
Q. Okay. You knew him from the past being part of the
Latin Kings, right?
A. That's correct.
Q. But to your knowledge -- or you have no knowledge that
he was active in the Latin Kings at that point, right?
A. Not specific knowledge.
Q. Okay. And as to all of the customers that you had
outside the Latin Kings, they accounted for a majority, more

than half of all the cocaine that you sold, right?

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 47 of 57 PagelD #:117

 

 

Corral - direct by Loeb 31
A. That's correct.
Q@. They were your biggest customers, the ones outside the
Latin Kings, right?
A. Yes.
Q. To your knowledge, Steve Liscano didn't know of where
you stored cocai ne, correct?

MR. BEAUMONT: And, Judge, I object. I think all
these questions are irrelevant to any issue before this
Court.

THE COURT: JI understand your position. [ am go7 ng
to overrule the objection. |

THE WITNESS: Do you want me to answer that?

THE COURT: You may answer the question.

BY THE WITNESS:
A. Could you repeat it, please.
THE COURT: Pose the question again, please.
MR. LOEB: Okay.
BY MR. LOEB:
Q. To your knowledge, Steve Liscano didn't know where you
kept your cocaine, right?
A. That's correct.

MR. LOEB: Judge, I have two questions that I want
to ask, but I have to run by co-counsel. Let me just show
them.

THE COURT: Ali right.

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 48 of 57 PagelD #:118

 

 

Corral - direct by Loeb 34

THE COURT: But if you don't repeat it, Iwill
trust you to properly refresh my recollection with your
argument .

MR. LOEB: Okay. Then --

THE COURT: So the answer to your question is
that's correct.

MR. LOEB: Okay. Let me just confer.

(Counsel conferring with Defendant Liscano. )

MR. LOEB: Okay. Just a couple of other questions.

THE COURT: AIT? right.
BY MR. LOEB:
Q@. You never told Mr. Liscano about other customers that
you had, right? You just had a relationship with him, right?
A. That's correct.
Q. And as far as you know, Mr. Liscano didn't have any
knowledge or wasn't aware where you were selling your other
drugs, right?
A. That's correct.

~Q@. You didn't have any agreement with him to help you with

your sales to other people, right?

MR. BEAUMONT: And, again, I object to that. I
just think all these questions are irrelevant.

THE COURT: I understand your position. Overruled.
BY THE WITNESS:
A. ‘That's correct.

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 49 of 57 PagelD #:119

 

 

Corral - direct by Loeb 35
BY MR. LOEB:
Q. Okay. Nor did you have an agreement for him to help you
in the future selling cocaine, right?

A. That's correct.
Q. In fact, isn't it possible that the total amount of

drugs that you sold Mr. Liscano was less than five kilograms
of cocaine during this nine-month period?

A. I just gave the bast estimate I could at the time I was
asked.

That's just an estimate?

Yes. |

So it's possible that it was less than five keys?

Again, the best estimate was the one I gave.

But it's possible that it was less than five keys, is --

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you gave your best estimate. It's possible that, in reality,
it was less than five kilograms, right?
A. I estimated from 2001 to 2002, and that's the estimate I
had came up with.
Q. And I'm not arguing-with your estimate.
A. Yes.
Q. I'm asking you isn't it possible that the total amount
was less than five kilograms?
A. Can't see how.
Q. But it is possible?
MR. BEAUMONT: Objection, I object.

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 50 of 57 PagelD #:120

 

 

53

Actually, just looking at the number of pages Mr.
Liscano flipped over, maybe this might take time.

And so, Mr. Liscano, if you want to have a seat --
I am sorry. Mr. Liscano, you stay up. Mr. Estremera, you
have a seat.

Mr. Liscano, changes or modifications.

DEFENDANT LISCANO: I have some objections as far
as to page 2, lines 61 through 63, because Juan Corral
wasn't -- it says that, “Juan Corral was a ranking member. "

Juan Corral wasn't a ranking member for the Latin
Kings. From pages -- page 3, line 73 contradicts this.

I have objections to page 3, lines 67 through 69,
because none of this was proven or allowed at trial.

This case was not to be treated as a gang
conspiracy, but only as a Juan Corral drug conspiracy, as was
said before opening of trial by the Court, Your Honor, So it
should not be allowed in my PSI.

On the same page, page 3, lines 69 and 70, never
was there any proof of this. This should be removed.

The same page, 3, lines 71 through 73, Corral is
considered to be the hub of the wheel, not me.

This -- in this conspiracy, why didn't my attorney
ask for multiple conspiracy jury instructions like I had
asked him to?

I also object to what Paul Bock claims you have to

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 51 of 57 PagelD #:121

 

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do to become a member of the Latin Kings, because that has
nothing to do with this case, and I became a Latin King
because of the neighborhood I grew up in.

The same page, page 3, lines 73 and 74, Corral did
not have significant influence among the gang. As a matter
of fact, he testified that he didn't even trust the Kings
involved: in the trial transcripts, volume 3, page 854.

Lines 74 and 75, I object to this because it was
not proven that Corral was one of the main suppliers to the
Latin Kings.

There's only 13 total Latin Kings on this case,.
which consists of 52 defendants, out of a membership that
numbers in the 80s, none of which ever proffered or testified
that they sold me nor I sold them cocaine.

Page 3, as far as to my criminal conduct, lines 81
and 82, I would like stricken because I did not allegedly
come into this conspiracy until September 2001.

Lines 83 through 85, I object to the 13 kilograms.
There is no corroborating evidence to verify this, or to
verify that I distributed to other customers or any of the

co-defendants.
Lines 85 and 86, the evidence at trial was that I

bought a half a kilo within a two-month period, but I've
proved to you, Your Honor, that Corral Tied to you and to the
jury about the half-a-kilo sale, because he could not have

 

 

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 52 of 57 PagelD #:122

 

 

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sold me half a kilo when he did not have any drugs for resale
that day, as I've had those transcripts given to you and
asked you to look at the phone transcripts of May 13th.

THE COURT: And I have read the materials you have
submitted.

DEFENDANT LISCANO: Okay, Your Honor.

THE COURT: And your counsel very ably pointed out
the various individuals that Mr. Corral told he did not have
drugs.

DEFENDANT LISCANO: I also have a proffer from Mr.
Corral that says he didn't have drugs November and December

of 2001.
Corral also testified that there were times he

couldn't supply drugs because he didn't have any.

His grand jury testimony is that he received one
shipment per month which he sold in approximately one week .
So that means I had to have received cocaine from him every
shipment.

But if you listen to the call, to the CD calls of
6-4-02 and 6-8-02 and the tapes of 5-14-02, it shows who
Corral distributed his drugs to, and I had no part of it.

_ So if the evidence shows I never received drugs
from him on those times he was supplied, how then can you
believe his perjured testimony about me receiving drugs in
the past? ‘That was not corroborated by any evidence

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 53 of 57 PagelD #:123

 

 

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whatsoever .

I told my lawyer to use this as my defense of
innocence, but he refused to, just Tike he told me that we
could not object to what the prosecutor said on certain
7SSues.

Mr. Young on behalf of Mr. Estremera did object,
but my lawyer didn't, and I heard Mr. Young comment why Mr.
Loab and Mr. Alvarez were not objecting as he said as he was.

THE COURT: Let me clarify that point.

| Any objection by any defense counsel inured to the
benefit of every other defendant unless it was disavowed. I
don't remember Mr. Loeb ever disavowing that point.

So that's yours. You stil] have that.

DEFENDANT LISCANO: Okay.

THE COURT: Mr. Loeb was following proper court
procedure wien he did that.

DEFENDANT LISCANO: Okay. TI have --

THE COURT: And your rights were not harmed in any
way. You may proceed.

DEFENDANT LISCANO: Page 3, lines 86 and 87.

THE COURT: You are still on page 3?

DEFENDANT LISCANO: Yes.

THE COURT: Okay.

DEFENDANT LISCANO: The testimony at trial was that
I bought. the cocaine.

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 54 of 57 PagelD #:124

 

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Ms. Schultz -- some Ms. Schultz asking her if I had posted
any bond towards Corral's bond or if I owed him any money,
and she said no to this attorney.

Page 4, lines 105 through 111, and page 6, lines
176 and 177, it says I didn't know that Corral sold to other
Latin Kings, so that totally contradicts what's being said on
these lines.

Corral's testimony was that he didn't even trust
the Latin Kings. Volume 3, page 854 of the trial
transcripts. |
On page 3, line 74, it says Corral was one of the
main suppliers of the Latin Kings, not the main supplier.

But if he was the main supplier to the Latin Kings, why are
there only 13 Latin Kings on this case out of over 80
members?.

Furthermore, there's no proof of my knowledge of
any of the players in this case. :

Page 4, line 112, there's no proof of me being a
member of the Latin King council, so I object.

Page 4, 112, lines 112 through 115, Aguirre
disclosed to the government in a proffer that he, in fact,
shot a man on []linois Avenue, but not that he killed him.

I have his proffer right here.

Page 5, lines 161 through 165, I object. There are
no facts to support that I participated in this conspiracy

 

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 55 of 57 PagelD #:125

 

59

from September 2001 to June 2002 or that I bought 13 kilos.
Page 5, lines 166 through 168, there's no proof
that I was closely associated or involved with any
co-conspirators, as on page 6, line 176 clearly indicates.
Page 5, lines 169 and 170, Brian Medina is not a
member of the Latin Kings or on this case.
Page 5 and 6, lines 170 through 175, I don't know.
Didn't I just object to this in page -- at page 3, Your
9} Honor? The same objection.
10 Page 6, lines 176 through 180, if there's no proof
11} or evidence that I knew, which I didn't, Your Honor, then how
12 | can I be held responsible for other people's actions?:
13 - 1B1.3, relevant conduct, states I cannot be held

14 | accountable for other actions unless I participated in

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15 | activities with them.

16 Example, No. 6, page 276.of my handbook, which I
17 | have right there on the desk there, Your Honor, explains
18 | that.

19 Page 6, line --

20 THE COURT: And the handbook you're referring to is
21; the --

22 DEFENDANT LISCANO: Seventh Circuit.

23 THE COURT: The Seventh Circuit handbook?

24 DEFENDANT LISCANO: Yes, Your Honor.

25 THE COURT: A1l right. As opposed to the

 

 

 

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 56 of 57 PagelD #:126

 

 

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sentencing guideline handbook? All right.

DEFENDANT LISCANO: Page 6, lines 181 through 187,
example 6 of relevant conduct says I could have known he sold
cocaine to people, but as long as I wasn't directly involved,
I can't be responsible for their actions.

Page 6, lines 191 and 192, I abject to being
responsible for 13 kilos.

Page 6, lines 193 through 196, I object to Level
38. I was not able to foresee that the conspiracy involved
in excess of 150 kilos.

That is it, Your Honor. I have these things
somewhat to back up what I am speaking about.

THE COURT: All right. Why don't you hand me --

DEFENDANT LISCANO: I don't know whether or not --

THE COURT: Well, first, you should hand them to
Mr. Beaumont.

MR. BEAUMONT: Judge, I will -- I know the reports,
SO --

THE COURT: Okay.

_ MR. BEAUMONT: = -- you can hand them to the Court,
and I'll look up the reports later.

THE COURT: Al] right.

DEFENDANT LISCANO: Would you like them, Your
Honor?

THE COURT: I would.

 

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Case: 1:09-cv-01347 Document #: 7 Filed: 04/07/09 Page 57 of 57 PagelD #:127

 

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objections, and I have reviewed those objections.

I don't know that we need to go through them in
detail since they are set forth in your October 19th, 2005
writing, document docketed at document No. 492.

But with regard to your objections that you were
never charged with -- starting on page 1, or the first page
of the Presentence Report -- and, Ms. Brown, I guess we will
talk with you at this point -- that Mr. Estremera has never
been charged with 21 U.S.C. § 841(a)(1). The charge actually

was 846.
Let me just inquire, should we make that change on

the first page?

MS. BROWN: On the face sheet, Your Honor?

THE COURT: On the face sheet.

MS. BROWN: Yas, Judge.

THE COURT: Yes. All right. So strike § 841(a) (1)
and put 846, and that is sustaining that objection.

With regard to the objection at -- it is on -+ the
pages aren't internally numbered, but it is at lines 65 to
67, your objection is that there was only one firearm, not
two firearms.

Let me ask the government what its position is on
that.

MR. BEAUMONT: My position is I don't think it

matters, so we'll --

 

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